UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                      :
UNITED STATES OF AMERICA
                                                      :              19 Cr. 765 (JSR)
                           vs.
                                                      :
BRUCE BAGLEY,
                                Defendant.            :
------------------------------------------------------X

                               SENTENCING MEMORANDUM
                          ON BEHALF OF BRUCE MICHAEL BAGLEY

        On behalf of our client, Bruce Bagley, we respectfully submit this Memorandum in order

to advise Your Honor of several matters that the defense will raise at the time of his sentencing, to

aid in the determination of the appropriate sentence. On June 1, 2020, Mr. Bagley appeared before

Your Honor and, pursuant to a written plea agreement with the Government, entered a plea of

guilty to Counts Two and Three of the Indictment, both of which charged Money Laundering, 18

U.S.C. § 1956 (a)(3)(B). Mr. Bagley’s sentencing is scheduled to take place before Your Honor

on November 16, 2021. At that hearing, the defense will respectfully ask the Court to impose a

non-Guidelines sentence of Time Served. At age 75 and in ill health, Bruce Bagley is facing

sentencing for his first criminal conviction, a non-violent crime. Bruce Bagley has spent his entire

life caring for his family, and pursuing a remarkably distinguished career as a researcher, mentor,

professor, and lecturer. He has devoted his considerable skills to sharing his knowledge of the

conditions which produce persistent rural indigence in Latin America, and has taught enlightened

methods for alleviating the entrenched patterns of poverty there. The United States Sentencing

Guidelines fail to reflect these and the other compelling sentencing factors raised in 18 U.S.C.

Section 3553 (a). Dr. Bagley has already suffered severe collateral consequences as the result of

this conviction, including the irreparable injury to his career, the stain on his reputation, and the
stress which affected his wife’s health during the year before her death. A sentence including any

prison time would gravely endanger Dr. Bagley’s physical and emotional health. The following

discussion will amply demonstrate that a sentence of Time Served would serve the aims of justice,

and would be sufficient, but not greater than necessary, to fulfill the goals of sentencing.

A. Sentencing Factors to Consider Pursuant to 18 USC § 3553(a):

       The Parsimony Clause of 18 U.S.C. Section 3553(a) provides that “[t]he court shall in

every case impose a sentence sufficient, but not greater than necessary” to achieve the purposes

and goals of sentencing (emphasis supplied). As the Court reaffirmed in Pepper v. United States,

131 S. Ct. 1229, 1243 (2011), in light of the long-accepted principle that “the punishment should

fit the offender and not merely the crime,” the “sentencing judge [is] to consider every convicted

person as an individual and every case as a unique study in the human failings that sometimes

mitigate, sometimes magnify, the crime and the punishment to ensue.” 131 S. Ct. at 1240 (quoting

Koon v. United States, 518 U.S. 81, 113 (1996)). While the U.S. Sentencing Guidelines may be

the “starting point and the initial benchmark,” the Court “may not presume that the Guidelines

range is reasonable.” Gall v. United States, 128 S. Ct. 586, 596-97 (2007). The Supreme Court

again reiterated that principle in Nelson v. United States, 555 U.S. 350, 352 (2009) by emphasizing

that “[t]he Guidelines are not only not mandatory on sentencing courts; they are also not to be

presumed reasonable” (emphasis in original). Rather, the sentencing judge is directed to make an

“individualized assessment” of the sentence warranted “based on the facts presented.” Id. at 597.

The result is that “[a] sentencing judge has very wide latitude to decide the proper degree of

punishment for an individual offender and a particular crime.” United States v. Cavera, 550 F.3d

180, 188 (2d Cir. 2008). As set forth below, there are many compelling reasons why the sentencing

factors set forth in 18 USC § 3553(a) favor a sentence of Time Served.

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   1. Dr. Bagley’s Personal Background:
       Born in Oakland, California in 1947, Bruce Michael Bagley was the middle son of the three

children of James Paul Bagley, Jr. and Rose Marie McGuiness Bagley. His father was a successful

insurance executive who ultimately became President of the company, while his mother was a

home-maker until she died from cancer when Bruce was thirty-five years old. Growing up in an

intact household, Bruce was an active youngster who loved to play basketball, participated in the

Boy Scouts, learned to speak Spanish at an early age, and excelled in his studies at school. Today,

at age 75, Bruce looks back on his childhood as idyllic, particularly when compared to the many

far less fortunate lives he has observed over the years.

       As the son of a veteran of World War II, Bruce grew up taking pride in his father’s military

service. But by the time Bruce enrolled at the Berkeley campus of the University of California,

doubts about the legitimacy of the war in Viet Nam were beginning to mount. When he graduated

from Berkeley in 1967, he was determined to resist being sent to Viet Nam. At that juncture, the

United States had not yet put a lottery system in place, and there were few avenues to follow in

avoiding the military draft. Bruce opted to apply for the Peace Corps, and was

fortunate enough to be accepted. His entry into the Peace Corps proved to be one of the most

pivotal events of his life, profoundly affecting the choices he would make in pursuing his academic

career, his life-long interest in Latin America, and his marriage.

       In 1968, Bruce Bagley joined the Peace Corps feeling inspired by a desire to learn about

other cultures, and an idealistic goal of conquering rural poverty. At the orientation sessions held

for new Peace Corps entrants, he encountered Annette Traversie, a young Native American

member of the Lakota Sioux Nation, whose only life experience was growing up on the Great

Rosebud Sioux Indian Reservation in South Dakota. She had been recruited to join the “Peace

                                                 3
Pipe Program” for Native Americans, and was eager to fight against high infant mortality rates.

That said, she was frightened because she didn’t know much Spanish at all. Bruce, who was

already very adept in Spanish, helped teach her the language. Following their training session, the

Peace Corps sent both of them to Fusa Gasuga, an indigenous farming community outside of

Bogota, Colombia. Their work among poverty-stricken farmers first exposed them to the roving

right-wing death squads which for generations dominated the Colombian countryside with

impunity, as well as the emerging agrarian rights movement which eventually morphed into the

FARC. Bruce’s early exposure to the political dynamics in Colombia led to his life-long interest

and expertise in the political history and economic development of South American countries.

Following their Peace Corps assignments, both Annette and Bruce returned to study at U.C.L.A.

in California, where he earned his Master’s degree and eventually his Ph.D., while she completed

her undergraduate degree. For a time they returned to Colombia to live and teach, but eventually

Annette grew weary and chronically ill, so both returned to the States together. When Bruce got

a teaching/research position at the prestigious Johns Hopkins University, the couple moved to

Maryland, where Annette began to work on producing Native American documentary films.

During this time, the couple decided to have a child, but Annette suffered a series of five

miscarriages. It was at this critical juncture that Mr. Bagley’s dedication to his wife became

irrevocable: although he very much wanted children, he told Annette that she was the most

important thing in his life, and that nothing else mattered as long as they stayed together.

       The pair remained together for the rest of Annette’s life, which ended in May 2021.

Surprisingly, after the couple had given up all hope of having children, they were lucky enough to

have two: Adele and Paul. In 1987, Mr. Bagley accepted a position at the University of Miami,

and for the next 32 years he built a distinguished record of stellar academic advancement. As his

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impressive Curriculum Vitae attests, Bruce Bagley’s career flourished as he rose through the ranks

from Associate Professor at the University of Miami School of International Studies to Associate

Dean in 1991.1 During the next ten years, the school was expanded from an institution principally

involved in Graduate Studies by adding an Undergraduate curriculum as well. By 2005, Dr.

Bagley was appointed as Director of the Undergraduate and Graduate International Studies

Programs and held an academic Chair. Throughout these years Mr. Bagley was not only a highly

prolific author of academic books and articles, but also a frequent major speaker and lecturer at

academic forums and conferences in the United States and South America. His remarkably

productive record of scholarly accomplishment is documented in his extensive Curriculum Vitae.

Notably, his outstanding reputation for excellence in his field is validated by letters written to the

Court by highly distinguished colleagues in his field.2 Although entrusted with important

administrative duties at the University, Bruce Bagley’s chief love always remained teaching his

students, and guiding them to success. Over the years, a number of his students have risen to

prominence in the field of International Studies, and in a rare demonstration of gratitude, many

give Mr. Bagley considerable credit for their professional success.

          Despite Mr. Bagley’s active and demanding academic life, he basically remained a Florida

“home-body” throughout the years. The two children, Adele and Paul, recall that while they were

growing up, their father was the mainstay – “the oak tree” – of the family. From the time that the

children were in grade school, they recall that their mother began to spend her days hanging out at

local Coconut Grove jazz bars,




1
    See Exhibit B
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    See Exhibit A
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                                                            During this unsettling period, Mr. Bagley

not only maintained his distinguished record of achievement at the University of Miami, but also

tended closely to his children, alleviating their apprehensions and fears. Adele recalls that, in some

ways, her father turned into the proverbial “absent-minded professor” – running out of gas when

he forgot to fill the car’s tank, or actually having the lights in their house turned off when he forgot

to pay the utilities’ bill – but even then, as a child, she understood that he was just preoccupied.

Although Bruce could not afford to keep the house in which he raised his children (and still rents

to this day), Bruce’s two children are emphatic that, growing up, they were always made to feel

cherished, well-nurtured and safe.

        An unfortunate – but singularly important – turning-point in the Bagley family’s life

occurred in 1999, when Annette Bagley was badly injured in a car accident. Two painful back

surgeries followed, for which opioid drugs were prescribed.

                                                                 Again, during those years, the two

Bagley children thrived in school, and in retrospect they give credit to their father for being the

stalwart, supportive presence in the home.



                  The two parents settled into a peaceful, companionable life, and their daily life

seemed to be going well until Annette had her first massive stroke in 2011, leading to paralysis of

her left side.



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          Following a second disastrous stroke in 2015, Annette’s grave infirmities continued to

worsen. In addition to her traumatic brain injury (TBI), multiple diseases including congestive

heart failure and lung cancer caused her decline to accelerate rapidly, leading to her recent death.

During those fraught years, Bruce insisted upon acting as her principal caregiver. Friends and

family members alike were often amazed, but not surprised, by the degree of commitment that Mr.

Bagley showed to his gravely ill wife. Indeed, it is not uncommon for those who knew them to

describe his wife Annette as “the center of his life.”3 Family members have described the

disagreeable realities which Annette’s daily care entailed: Bruce began every day by discarding

his wife’s overnight diaper. Then, because his wife was fully paralyzed on her left side, he would

lift her into place in order to use the commode. Stroke-induced injury had impaired Annette’s

sight and balance, so to use the commode – which she preferred over using a diaper, whenever

possible -- she could never be left to sit up alone. Routinely, Bruce then washed out the commode,

helped Annette with her toothbrush, fixed her breakfast and fed her. At lunchtime, Bruce Bagley

once again prepared food and fed it to her, and then helped her take her prescribed medications.

As a daily ritual, Bruce helped her apply soothing skin cream, and brushed her hair. In order to

bathe, Annette had to be wheeled to the outdoor patio and doused with a gentle hose several times

each week.

          Although Annette Bagley’s daily life continued to deteriorate inexorably, one thing that

did not diminish was Bruce Bagley’s deep love for his wife. As her condition worsened, home

health-care aides would come to assist Annette for several hours during the day-time, but Bruce




3
    See Exhibit A, p.13
                                                 7
•    The first such proposal came in 2014, when              attempted to hire Dr. Bagley on behalf of
     Kiko Gomez, a Colombian Governor.                offered Dr. Bagley $25,000 to write an affidavit
     swearing that, based upon his own academic research, Kiko Gomez was not involved in
     Colombia’s paramilitary or its drug trafficking activities. Dr. Bagley refused this job offer
     because his research revealed that, in fact, Kiko Gomez was involved in Colombia’s
     notorious paramilitary activities.
•    Several times during their relationship,         asked Dr. Bagley about writing books together,
     the subject being            life experiences, particularly with the paramilitary forces in
     Colombia. Since         was functionally illiterate, however, it was understood that Dr.
     Bagley would be the only writer. Although               offered to pay Dr. Bagley $50,000.00, Dr.
     Bagley declined the offer.
•    In around 2018,        presented Dr. Bagley with an opportunity for a consulting job on
     behalf of a candidate for President of Paraguay. Given Dr. Bagley’s knowledge of political
     history in South America, his job would have been simply to tutor the candidate regarding
     pressing political issues. Again, because          was the broker, the payment would have been
     generous relative to what Dr. Bagley was accustomed to earning, but             would doubtless
     have kept a hefty “finder’s fee” for himself.             After an initial, exploratory telephone
     conference with the potential client, Dr. Bagley decided not to accept the work because it
     was unclear what exactly was expected of him. More importantly, it did not seem as though
     the candidate was forthcoming about his motives and agenda, and Paraguay’s long history
     of authoritarian rule left Dr. Bagley feeling unpleasantly suspicious.
•    In 2019,       approached Dr. Bagley with another opportunity to make a great deal of
     money as a consultant for another presidential candidate. This time the potential client,
     Dominguez Trujillo, was from the Dominican Republic.                      made the introduction
     between the two men, and Dr. Bagley subsequently traveled to New York City to have an
     in-person meeting with Trujillo and              Like          other offers, Dr. Bagley felt there
     was something that made him very uncomfortable, and he declined the work.


b)        Resurfaces as a U.S. Government Informant



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money directly. As        explained to Dr. Bagley                                   he had a known

history as a broker between informants and their attorneys,




       At this point      had already offered Dr. Bagley work on behalf of Alex Saab. Among the

work that Dr. Bagley accepted was to meet in Colombia with Saab and his son, in order to assist

the latter with his U.S. Visa application. Dr. Bagley traveled to Colombia and consulted at the

Embassy several times as part of this job. Although the son’s U.S. Visa was ultimately denied

because of concerns about the Saab family’s connections to the hostile government in Venezuela,

Dr. Bagley nonetheless expected to get paid for his professional efforts. Both Saab and         then

asked Dr. Bagley to stay on and do some consulting work. Specifically, Alex Saab was considering

starting a business in Guatemala, and wanted Dr. Bagley’s input on risk assessment, as well as

insight into the local politics at the time. Dr. Bagley accepted the work. It was understood his rate

of payment would continue to be $1,000 per hour, and that he should limit his hours to 20 per

month. Subsequently, Saab and          also requested that Dr. Bagley receive additional money in

the United States, which he would thereupon wire to           company.




                                                 15
court’s guidance. His heightened risks for vulnerability to COVID-19 include, inter alia,

pulmonary nodules, diabetes and hypertension.33

           It is noteworthy that, in recent months, courts in this District have repeatedly held that “the

COVID-19 pandemic presents an extraordinary and unprecedented threat to incarcerated

individuals.” United States v. Jones, No. 15 Cr. 95, Dkt. No. 2865, at 6 (S.D.N.Y., May 26, 2020)

(Nathan, J.); see also United States v. Gross, No. 15 Cr. 769, 2020 WL 1673244, at *2 (S.D.N.Y.,

Apr. 6, 2020)(Nathan, J.,); United States v. Nkanga, 450 F. Supp. 3d 491, 492 (S.D.N.Y. 2020)

(Furman, J.); and U.S. v. Lizardi, No. 11 Cr. 1032, Dkt. No. 2523, at 8 (S.D.N.Y. 2020)

(Engelmayer, J.). Consequently, courts have granted variances at sentencing on the basis of harsh

and dangerous conditions at B.O.P. detention facilities, especially during the continuing pandemic.

See, e.g., United States v. Polanco, 20 Cr. 94 (S.D.N.Y.) (Nathan, J.) (sentence of time-served,

four-and-a-half months, for illegal reentry and false statement to an ICE officer, a variance from

Guidelines of 10-16 months based in part on conditions at the MDC during the pandemic and the

likelihood that the defendant would remain detained until deported); United States v. Paez

Vazquez, 20 Cr. 28 (Oetken, J.) (sentence of time served, approximately six months, despite

Guidelines range of 87-108 months, taking into account difficult conditions at the MCC during the

pandemic); United States v. Morgan, 19 Cr. 209 (S.D.N.Y.) (Berman, J.), (brutal conditions of

incarceration, both before and during pandemic, result in sentence of time served -- less than 15

months -- where stipulated Guidelines range was 33-41 months and actual applicable Guidelines

range was 41-51 months); United States v. Casillas, 19 Cr. 863 (S.D.N.Y.) (Broderick, J.) (time-

served sentence of approximately five months where Guidelines range was 15-21 months, largely

based upon conditions at MCC during the pandemic); United States v. Pierson, 14 Cr. 855


33
     Id.
                                                     20
(S.D.N.Y.) (Swain, J.) (time-served sentence of less than two months where Guidelines advised 6-

12 twelve months). During one recent sentencing, the Honorable Analisa Torres (S.D.N.Y.)

explained that her decision to impose a time-served sentence of three months, where the Guidelines

suggested 5-11 months, rested in part on the reality that detention for three months during

“ordinary times is very different from being detained for three months during the COVID-19

pandemic” due to “additional burdens, including increased risk of infection, along with other

complications such as the suspension of legal and family visits.” United States v. Rivera, 16 Cr.

66 (S.D.N.Y.) (AT).

       The COVID-19 pandemic has significantly affected the sentencing decisions of numerous

Judges. Not only has the pandemic affected the analysis of factors to be weighed under 18 U.S.C.

§ 3553(a), but also, this highly infectious disease has made detention at federal prisons far more

harsh than “normal.” For months, inmates have been required to remain inside; they have been

subject to strict limitations on family visits and attorney contacts; their access to phone calls and

email has been curtailed; and for long stretches, most have been locked down in their cells for 23

hours per day. While it recently began to appear that enforcement of such stringent measures could

be relaxed, the B.O.P. has once again been forced to re-impose measures to stop the accelerated

spread of dangerously communicable COVID-19 variants. In some facilities, food preparation has

been adversely affected by short-staffing and acquisition difficulties; consequently, inmates have

reported receiving cold cut sandwiches for every lunch and dinner. Reports persist that inmates

are not getting exercise, they are not receiving normal health treatment, and all educational

programming has stopped. These restrictions, as well as the pervasive fear of COVID-19

(especially new variants), make time spent in prison during this crisis many times harder.

       As U.S. District Judge Paul A. Engelmayer recently explained, “[a] day spent in prison

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under extreme lockdown and in legitimate fear of contracting a once-in-a-century deadly virus

exacts a price on a prisoner beyond that imposed by an ordinary day in prison. While such

conditions are not intended as punishment, incarceration in such circumstances is, unavoidably,

experienced as more punishing.” U.S. v. Lizardi, 11 Cr. 1032-55, Dkt. No. 2523, at 7-8 (S.D.N.Y.,

2020) (releasing defendant with no known underlying health conditions, concluding that the

combination of COVID, related jail conditions, the relatively short period left on defendant’s

sentence, and other 3553(a) factors constituted extraordinary and compelling circumstances which

warranted release).

       c) Bruce Bagley’s Health is Substantially Compromised




34
     See Exhibit G (under seal)
                                               22
       4. Pre-Sentence Report

           Although the applicable Guidelines range was properly calculated in the Plea Agreement

and the Pre-Sentence Report (PSR), this range does not properly reflect the true measure of Dr.

Bagley’s culpability, because it is driven principally by the loss enhancement. Courts have long

criticized the practice of using the Sentencing Guidelines’ loss enhancement provisions as a proxy

for determining the seriousness of the offense. The Guidelines’ loss enhancement section was

developed “without the benefit of empirical study of actual fraud sentences by the Sentencing

Commission.” U.S. v. Corsey, 723 F.3d 366, 380 (2d Cir. 2013) (Underhill, J. concurring); see



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     See Exhibit J, letters from Dr. Carol Ann Killian, explaining Bruce Bagley’s medical conditions. (under seal)
                                                           23
also U.S. v. Musgrave, 647 F. App’x 529, 538-39 (6th cir. May 4, 2016)(“there is reason to believe

that, because the loss Guidelines were not developed using an empirical approach based on data

about past sentencing practices, it is particularly appropriate for variances”). The consequence of

this lack of an empirical basis for determining the loss, combined with the often-disproportionate

role that loss plays in determining the Guidelines sentence, is that “sentencing judges are

discouraged from undertaking close examination of the circumstances of the offense and the

background and characteristics of the offender.” U.S. v. Corsey, 723 F.3d at 380 (Underhill, J.

concurring). Here, the loss enhancement is responsible for 16 levels of Dr. Bagley’s offense level,

but the amount of money that Dr. Bagley retained in 2019 ($64,000.00) for his consulting services

was roughly 2.2% of the $2,971,279.00 that he is being held legally responsible for under the

Sentencing Guidelines. The Guidelines attribute that degree of loss to Dr. Bagley because that is

the amount that       directed Saab to wire to Dr. Bagley in 2017.




       While we appreciate that the PSR recommends a sentencing variance of twelve months’

imprisonment – well below the calculated Guideline Range – that recommendation was made

before the development of Dr. Bagley’s recent serious health problems. The PSR quotes Dr.

Bagley’s own assessment of his current physical health as “reasonably good” (PSR ¶64), but since

that interview with Probation, Dr. Bagley’s health has deteriorated drastically, as discussed above.

Additionally, the PSR’s recommendation was influenced by Dr. Bagley’s characteristic tendency

to brush aside his own health complaints. If asked today, he would likely reply that he is doing

“pretty well,”

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        In its justification, Probation questions whether its credible that, prior to January 2019, Dr.

Bagley had no personal knowledge from           or any other source that the money Saab was wiring

him was from corrupt operations in Venezuela. Probation is basing this concern on Dr. Bagley’s

years of teaching international studies and authoring books on drug trafficking and organized

crime. Probation does not explain how Dr. Bagley’s professional background would provide him

with specific knowledge about Saab’s business in Venezuela being corrupt; a business that, the

government agrees, Dr. Bagley himself had no connection to or interaction with. Prior to December

2018, Dr. Bagley did confirm that Saab was not indicted in the United States or anywhere else and

that Alex Saab was not on the Office of Foreign Assets Control (OFAC) list.

    a) Objections

        Dr. Bagley was extremely forthcoming during his presentence interview and provided the

basis for most of his objections to the PSR. (PSR ¶¶33-39). The following objections are identified

by the corresponding paragraph of the PSR:

13. Dr. Bagley does not recall ever opening a bank account in Weston, Florida at any point.

18. Dr. Bagley was hired by        and Alex Saab to provide consulting services. He provided those

services and the money that Dr. Bagley transferred to his personal account represented payment

for his services.

                                          CONCLUSION

        For all of the foregoing reasons, we respectfully ask the Court to grant Bruce Bagley a

sentence of Time Served. Dr. Bagley has spent his entire adult life providing and caring for his

family, while building a dedicated career as a researcher, mentor, professor and lecturer. From the

time that he graduated from college and entered the Peace Corps at age 21, he has endeavored to

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help alleviate adverse conditions in impoverished South American communities. Given Bruce

Bagley’s advanced age, declining health and complete lack of any criminal history, it is altogether

reasonable to predict that he will never be a repeat offender. Certainly the required period of

Supervised Release would give the Court sufficient opportunity to monitor his behavior and

impose any corrective measures, in the highly unlikely event they are needed. In determining the

appropriate sentence, we respectfully ask the Court to note that Bruce Bagley has already suffered

detrimental results from this conviction which far exceed any punishment the Court could impose.

The collateral consequences of this conviction have already been astronomical: His distinguished

academic reputation was damaged, and he was required to take early retirement and thus give up

his prestigious career. Ever since the early morning hours of November 18, 2019, when Dr.

Bagley and his wife were woken by federal agents pounding on their door, his chief concern was

for his terminally ill wife. As she watched agents place him in handcuffs and interrogate him in

his underwear, Dr. Bagley worried that she would never recover from her shock and distress.

Today, he is overwhelmed by dark thoughts that his arrest in fact hastened her death. Dr. Bagley’s

loss of his companion of fifty-three years has been so profound that his children are convinced that

any prison time may well amount to a sentence of life. WHEREFORE, it is respectfully submitted

that a sentence of Time Served would be sufficient, but not greater than necessary, to achieve the

goals of sentencing herein.

       Thank you very much for your consideration of this submission.

Dated: New York, New York
       November 9, 2021                                      Respectfully submitted,



                                                             Peter Enrique Quijano, Esq.

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On the Memorandum:

Anna N. Sideris
Nancy Lee Ennis


cc.:   A.U.S.A. Nathan M. Rehn
       A.U.S.A. Sebastian Swett
       U.S.P.O. Christopher F. Paragano




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